                                        CJA 20 APPOINTMENTOF AND A U T H O R I n TO PA> COURT APPOINTED COUNSEL                                            - - - - 7. 1
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               .dT.lDlV. CODE            2. PERSON REPRESENTED                                                                                I VOUCHER NUMBER                                                                       I
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                                 Case 1:06-cr-00098-OWW
                                           Cheryl L.    Document 14 Filed 04/03/06 Page 1 of 1
         h U G . DKTJOEF, NUMBER                            4. DIST. DKT.IOEF. NUMBER                 5. APPEALS DKTJDEF NUMBER                                      6 . OTHER DKT, NUMBER
                                                               I :06-000098-002
    7. IN CASEMATTEROF                ~sme)
                                   (C~W                     8 . PAYMENTCATEGORY                       9.TYPE PERSON REPRESENTED
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         U.S. v. Dunbar                                        Felony                                       A d u l t Defendant                                                  Case
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    11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) l l m ~ r rih.naneamn8~ IIIIIYV ~ o n v m
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      1) 18 287.F FALSE OR FRAUDULENT C L A I M S

1 Hamrnerschrnidt, leffrev T.
    12. ATTURNEY'S NAME ~ l r s ~t s m e .n.1. L
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         2445 Ca itol Street, Suite 150
         Fresno $A 93721                                                                               Prlar *,lorn.y~l       N.n.:
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    23. M COURT COMP.                   24. OVTOF COURTCOMP.                      25. m V E L EXPENSES                         26. OTHER EXPENSES                               1 7 . TOTAL A W T APPR/CLRT



    28. SIGNATUREOF THEPRESIDING JUDlClALOFFlCER                                                                               DATE                                             28..        Nl2,&jg)AC..WOGE              CODE
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    29. I N COURTCOMP.                  30. OUTOF COURTCOMP.                      31. TRAVEL EXPMSES                           32. OTHER EXPENSES                               33. TOTAL AMT. APPROVED
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